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                       UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                       NORFOLK DIVISION



                                     Thursday, May 3, 2018
MINUTES OF PROCEEDINGS IN              Open Court

PRESENT; THE HONORABLE          Rebecca Beach Smith, CUSDJ
Deputy Clerk; S. Cherry                                  Reporter; Jody Stewart, OCR
 Set:   11;00   a.m.            Started;    11;00 a.m.         Ended:   11:55 a.m.
 2;93cv902                      R.M.S. TITANIC, INC., etc.
                                V.

                                The Wrecked and Abandoned Vessel, etc.



        Robert McFarland and Brian Wainger present on behalf of plaintiff.
     Kent Porter, AUSA, present on behalf of USA, with Matthew Troy, US
Department of Justice, and Jackie Rolleri, counsel for NOAA.

        Matter came on for status hearing.

        Comments of court and counsel heard re Status Reports filed since the
last hearing on Jiine 28,      2017.

        Counsel updated the court on the baixkruptcy proceedings in the Middle
District of Florida, Ocean Gate expeditions, artifacts in possession of
former board member, and any planned 2018 expeditions.
        Counsel for USA will submit e-mail communications between NOAA and Ocean
Gate regarding planned expedition, and will be marked as Exhibit #3.
        Evidence presented.

        Court adjourned.




Status Hearing Exhibits;
#1 - Letter from USA to Mr. McFarland and Mr. Wainger, dated 12/19/2017,
submitted by USA
#2 - Copy of Motion to Appoint Trustee filed in the bankruptcy proceeding in
the Middle District of Florida, submitted by USA
#3 -    e-mail communications between NOAA and Ocean Gate         (received in Clerk's
Office on May 7, 2018 -       see above)
